Case 1:21-cv-00977-KAJ Document 526-1 Filed 10/04/23 Page 1 of 2 PageID #: 43992



    The questionnaire below has been approved by the Court. To select jurors, the Court and the
    parties require certain information. This form is designed to save time and assist the Court and the
    parties to move forward as quickly as possible. Please answer the questions below honestly and
    completely, and provide the response in the enclosed envelope. If you need additional space,
    please use the back of this form. This information will not be used for any other purpose except to
    select a jury. Thank you for your time and effort in completing this questionnaire.
    JUROR QUESTIONNAIRE
    Name: _____________________________ Address:

    Race: _____________ Gender:_______ Age: ____ County of Residence:
    1. What is the highest level of education you have completed?  Less Than High School Diploma
     High School Diploma/GED  Some College  Technical/Business School  Trade School
     Associate’s Degree  College Degree  Post-Graduate Degree.
    Beyond high school, list the degree(s) you have earned and your major area(s) of study:



    2. Do you have any special training, education, or experience related to any of the following
    industries/fields: (Check all that apply)  Law/Court System  Healthcare  Medical Devices
     Diagnostics  Biology  Chemistry  Engineering  Accounting  Finance or Economics
     Licensing  Intellectual Property/Patents  Business  Research and Development  Sales
     Product Development  Endocrinology (Diabetes Medicine)  Dietician or Nutritionist
     Diabetes education  Marketing/Advertising  Contract Negotiation or Enforcement
    If you checked any box, please describe:



    3. Are you a full time student?  Yes  No.
    4. Have you ever served in the military?  Yes  No. If “Yes,” highest rank?
    5. Employment status: (Check one)  Employed Full-Time  Employed Part-Time
     Homemaker  Self-Employed  Retired  Unemployed  Furloughed  Disabled.
    6. Describe your current or most recent job.
    Employer: __________________________Type of Business:
    Title/Position: __________________________ Length of Employment:
    Reason for Leaving (if applicable):
    7. In any of your jobs, have you ever held a management/supervisor position?  Yes  No.
    8. Have you or anyone close to you ever owned a business?  Yes  No. If “Yes,” please
    describe the business and when it was owned:


    9. What is your marital status?  Single/ Never married  Married  Living with Partner
     Divorced/ Separated  Widow/ Widower
    10. If applicable, what is your spouse’s/partner’s current or most recent job and who is/was the
    employer?
    11. Have you ever been a plaintiff or defendant in a lawsuit (other than divorce)?  Yes  No. If
    “Yes,” were you a  plaintiff  defendant? Please describe the lawsuit:


    12. Have you ever been a witness at a trial, hearing, or deposition?  Yes  No. If “Yes,”
    please explain:
Case 1:21-cv-00977-KAJ Document 526-1 Filed 10/04/23 Page 2 of 2 PageID #: 43993

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    13. Have you previously served as a juror?  Yes  No. If “Yes,” did the jury reach a verdict?
     Yes  No. Were you the jury foreperson?  Yes  No. What type of case was it?  Civil
     Criminal  Grand Jury Proceedings  I Do Not Remember.
    14. Do you have any strong opinions about civil litigation in general?  Yes  No. If “Yes,”
    please describe:
    15. Do you have any strong opinions about large corporations?  Yes  No. If “Yes,” please
    describe:

    16. Have you, a family member, or close friend ever  developed a new product,  applied for a
    patent, or  received a patent? (Check all that apply.) If you checked one or more boxes, please
    explain:



    17. Have you, a family member, or close friend ever invented anything, whether or not you sought
    a patent on it?  Yes  No. If “Yes,” please explain:



    18. Do you have opinions (positive or negative) about patents?  Strongly Positive  Positive 
    Negative  Strongly Negative  Neutral. Please explain:



    19. Do you have opinions (positive or negative) about the Patent Office or the US patent system?
     Strongly Positive  Positive  Negative  Strongly Negative  Neutral. Please explain:



    20. Have you or anyone close to you had diabetes or ever needed to manage or treat diabetes?
     Yes  No. If “Yes,” please explain:



    21. Are you familiar with any of the following companies: Abbott Laboratories, Abbott Diabetes
    Care, or Dexcom Inc.?  Yes  No. If “Yes,” please describe:



    22. Have you or anyone close to you ever used a blood glucose meter (also known as a BGM)?
     Yes  No. If “Yes,” please explain:



    23. Have you or anyone close to you ever used a continuous glucose monitor (also known as a
    “CGM”)?  Yes  No. If “Yes,” please explain:



    24. Are you familiar with any of the following CGMs: Abbott Freestyle Navigator, Abbott Freestyle
    Libre, Dexcom G4, Dexcom G5, Dexcom G6, Dexcom G7?  Yes  No. If “Yes,” please
    describe:
